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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 15-30252
         Louis Churnovic

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 09/03/2015.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 10/30/2015.

         6) Number of months from filing to last payment: 0.

         7) Number of months case was pending: 4.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

        Total paid by or on behalf of the debtor                  $0.00
        Less amount refunded to debtor                            $0.00

 NET RECEIPTS:                                                                                       $0.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                              $0.00
     Court Costs                                                        $0.00
     Trustee Expenses & Compensation                                    $0.00
     Other                                                              $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                   $0.00

 Attorney fees paid and disclosed by debtor:                 $0.00


 Scheduled Creditors:
 Creditor                                    Claim         Claim        Claim         Principal       Int.
 Name                              Class   Scheduled      Asserted     Allowed          Paid          Paid
 GATEWAY FINANCIAL             Secured             0.00           NA             NA           0.00        0.00
 GREAT AMERICAN FINANCE        Secured        1,100.00            NA             NA           0.00        0.00
 ILLINOIS DEPT OF REVENUE      Priority       3,200.00            NA             NA           0.00        0.00
 MEGAN CHERNOVIC               Priority       3,000.00            NA             NA           0.00        0.00
 AVANT INC                     Unsecured      5,895.00            NA             NA           0.00        0.00
 BARCLAYS BANK DELAWARE        Unsecured         531.00           NA             NA           0.00        0.00
 CAPITAL ONE                   Unsecured      3,015.00            NA             NA           0.00        0.00
 CCS/FIRST SAVINGS BANK        Unsecured         400.00           NA             NA           0.00        0.00
 CITY OF SCHAUMBURG            Unsecured           0.00           NA             NA           0.00        0.00
 COMEED                        Unsecured           0.00           NA             NA           0.00        0.00
 CREDIT ONE BANK               Unsecured         814.00           NA             NA           0.00        0.00
 CREDIT ONE BANK               Unsecured         530.00           NA             NA           0.00        0.00
 EDUCATION DEPT OF ED/NELNET   Unsecured      9,861.00            NA             NA           0.00        0.00
 FIFTH THIRD BANK              Unsecured           0.00           NA             NA           0.00        0.00
 FIRST PREMIER BANK            Unsecured         600.00           NA             NA           0.00        0.00
 FNCC/LEGACY VISA              Unsecured      1,039.00            NA             NA           0.00        0.00
 MERRICK BANK                  Unsecured      1,855.00            NA             NA           0.00        0.00
 NICOR                         Unsecured           0.00           NA             NA           0.00        0.00
 PAYPAL CREDIT SERVICES        Unsecured      1,887.31            NA             NA           0.00        0.00
 SYNCB/DISCOUNT TIRE           Unsecured         948.00           NA             NA           0.00        0.00
 VILLAGE OF LISLE              Unsecured         200.00           NA             NA           0.00        0.00
 ZALE/STERLING JEWELERS        Unsecured         434.00           NA             NA           0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00               $0.00            $0.00
       Mortgage Arrearage                                      $0.00               $0.00            $0.00
       Debt Secured by Vehicle                                 $0.00               $0.00            $0.00
       All Other Secured                                       $0.00               $0.00            $0.00
 TOTAL SECURED:                                                $0.00               $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                                   $0.00               $0.00            $0.00


 Disbursements:

         Expenses of Administration                                  $0.00
         Disbursements to Creditors                                  $0.00

 TOTAL DISBURSEMENTS :                                                                            $0.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 12/30/2015                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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